            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION

                       CRIMINAL NO. 3:05CR277-34


UNITED STATES OF AMERICA             )
                                     )
                                     )
             VS.                     )            ORDER
                                     )
                                     )
SOUTH BOULEVARD AUTO                 )
MALL, INC.                           )
                                      )


      THIS MATTER is before the Court sua sponte to continue the trial from

the November 2005 term in the Asheville Division.

      The Court finds that the Defendant's case "is joined for trial with a

codefendant as to whom the time for trial has not run and no motion for

severance has been granted," 18 U.S.C. § 3161(h)(7), and that failure to

continue this matter would result in a miscarriage of justice. 18 U.S.C. §

3161(h)(8)(B)(i). The Court further finds that the ends of justice served by

taking such action outweigh the best interest of the public and the Defendant

to a speedy trial.




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      IT IS, THEREFORE, ORDERED that this case is hereby continued from

the November 2005 term in the Asheville Division.

      IT IS FURTHER ORDERED that this case be calendared for trial during

the Court’s January 30, 2006, term in the Statesville Division.

      The Defendant and the Government are placed on notice that the Court

will not grant any additional continuances of this matter.




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                    Signed: November 5, 2005




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